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                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                Case No. 1:15-cr-00228
                                    )
v.                                  )                Honorable Janet T. Neff
                                    )
EUGENE CARSON,                      )
                                    )
            Defendant.              )
____________________________________)


                           REPORT AND RECOMMENDATION

       Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned case on

May 31, 2016, after receiving the written consent of defendant and all counsel. At the hearing,

defendant Eugene Carson entered a plea of guilty to Counts 2 and 4 of the Indictment in exchange

for the undertakings made by the government in the written plea agreement. In Count 2, defendant

is charged with possession with intent to distribute a quantity of cocaine base a Schedule II

controlled substance, and a quantity of a mixture or substance containing a detectable amount of

cocaine, a Schedule II controlled substance, a quantity of a mixture or substance containing a

detectable amount of heroin, a Schedule I controlled substance, and five grams or more of

methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 841(a)(1),

841(b)(1)(B)(viii), and 841(b)(1)(C); in Count 4, he is charged with knowingly possessing firearms,

in furtherance of the drug trafficking crime of possessing with intent to distribute controlled

substances, in violation of 18 U.S.C. § 924(c)(1)(A)(I).
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        On the basis of the record made at the hearing, I find that defendant is fully capable and

competent to enter an informed plea; that the plea is made knowingly and with full

understanding of each of the rights waived by defendant; that it is made voluntarily and free

from any force, threats, or promises, apart from the promises in the plea agreement; that the

defendant understands the nature of the charge and penalties provided by law; and that the plea

has a sufficient basis in fact.

        Accordingly, I recommend that defendant's plea of guilty to Counts 2 and 4 of the

Indictment be accepted, that the court adjudicate defendant guilty, and that the written plea

agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

specifically reserved for the district judge.



Date: May 31, 2016                               /s/ Phillip J. Green
                                                PHILLIP J. GREEN
                                                United States Magistrate Judge




                                      NOTICE TO PARTIES

       You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See
W.D. MICH. L.CR.R. 11.1(d).




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